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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA,

       vs.
                                                         Criminal No. 1:18-cr-10156-DPW
Carlos TORRES
Carlos RODRIGUEZ

                      Defendants.


                            JOINT INTERIM STATUS REPORT

       Carlos Torres is charged with violations of Title 21, United States Code, Section 846:

Conspiracy to Distribute and Possess with Intent to Distribute 400 Grams or More of Fentanyl;

Title 21 United States Code, Section 841: Possession with Intent to Distribute 400 Grams or

More of Fentanyl; and Title 18, United States Code, Section 924(c): Possession of a Firearm in

Furtherance of a Drug Trafficking Crime. Carlos Rodriguez is charged with violations of Title

21, United States Code, Section 846: Conspiracy to Distribute and Possess with Intent to

Distribute 400 Grams or More of Fentanyl; and Title 21 United States Code, Section 841:

Possession with Intent to Distribute 40 Grams or More of Fentanyl.

       Pursuant to Local Rule 116.5(b), the parties submit the following interim status report:

       1.       Automatic discovery and discovery requests.

       The government has provided automatic discovery by mail on June 18, 2018 and July 5,

2018. The defendants continue to review the discovery, and have requested recorded phone calls

and text messages, which were provided by mail on July 5, 2018.




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       2.       Timing of additional discovery.

       The government continues to investigate, and if additional reports or information are

received, they will be provided as soon as received. Additional laboratory reports are anticipated

as the laboratory completes drug and firearm analyses.

       3.       Timing of additional discovery requests.

       The defendants continue to review the discovery produced to date, and do not yet know if

they will be making additional discovery requests.

       4.       Protective orders.

       A protective order regarding discovery containing confidential informant information

was issued by the court on July 2, 2018.

       5.       Pretrial motions.

       The defendants have not filed any pretrial motions under Fed. R. Crim. P. 12(b). Mr.

Torres anticipates filing such pretrial motions in the near future. The Court may wish to consider

establishing a date by which such motions should be filed.

       6.       Timing of expert disclosures.

       The Court has not yet established a date for expert witness disclosures. The government

submits that drug and firearm analysts will be the expert witnesses likely to be called by the

government. Accordingly, the government submits that expert disclosures 30 days before trial

should be sufficient.

       7.       Defenses of insanity, public authority or alibi.

       No such defenses are currently anticipated.




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       8.       Periods of excludable delay.

       The time from May 23, 2018 until July 12, 2018 was excluded under the Speedy Trial

Act by order of the Court. (Docket No. 27). The time from July 12, 2018 through September 6,

2018 was excluded under the Speedy Trial Act by order of the Court. (Docket No. 39).

Accordingly, zero days of non-excludable time have accrued and 70 days will remain under the

Act in which the case must be tried.

       9.       Status of plea discussions and estimated length of trial.

       Defendants continue to work through the discovery, and no plea discussions have taken

place to date. The government estimates that the length of trial would be one week.

       10.      Timing of further conferences.

       The parties request that a further status conference be scheduled for approximately 60

days from August 30, 2018.

                                                 Respectfully submitted,


 CARLOS TORRES                                   ANDREW E. LELLING
                                                 United States Attorney


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 Dated: August 30, 2018                          Dated: August 30, 2018




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 CARLOS RODRIGUEZ



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 Dated: August 30, 2018




                                         Certificate of Service

       I hereby certify that I served the foregoing document by EFT on August 30, 2018 to all
counsel of record.

                                                    /s/ Philip C. Cheng
                                                    Philip C. Cheng
                                                    Assistant U.S. Attorney




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